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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                               Case Number: 19-cr-20450-SCOLA

  UNITED STATES OF AMERICA,

                        Plaintiff,
                v.

  ALEX NAIN SAAB MORAN,

                    Defendant.
  __________________________________/

       UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO ENFORCE
                   RULE 53 AND TO LIMIT ZOOM ACCESS

         The United States of America, through the undersigned counsel, hereby files this Response

  to Defendant Alex Nain SAAB MORAN’s (“SAAB MORAN”) Motion To Enforce Rule 53 and

  to Limit Zoom Access (hereinafter “the Motion”).

         Following a nearly sixteen-month extradition process that garnered international news

  coverage, defendant SAAB MORAN made his initial appearance via Zoom before Magistrate

  Judge John O’Sullivan on October 18, 2021. During the hearing, defendant SAAB MORAN’s

  arraignment was set for November 1, 2021. [DE 58]. Attendance at the Zoom hearing included

  over three hundred participants. Following the hearing, a limited number of media outlets and

  others published photographs and videos of SAAB MORAN from the hearing. On October 26,

  2021, Defendant SAAB MORAN filed this Motion requesting the Court limit video access to

  future hearings to necessary parties, the Defendant’s family, and “reputable news organizations.”

  Mot. at 8. The Motion requested that access for the public be limited to calling into a “dial-in”

  number. Id. The premise of the Motion was that Federal Rule of Criminal Procedure 53 prohibits

  the photographing or broadcasting of judicial proceedings and that the rule had been violated. On
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  October 27, 2021, the Court ordered the government to respond to the Motion and stated in “the

  meantime, the Court is confident that the Magistrate Judge(s) handling matters scheduled in the

  near future will take appropriate action to address the Defendant’s concerns.” On November 1,

  2021, Defendant SAAB MORAN was again scheduled to appear in court before Magistrate Judge

  Edwin G. Torres.       Attendance at this Zoom hearing dropped from the prior hearing to

  approximately 80 participants. Defendant SAAB MORAN waived his appearance at this hearing

  and the Government has not become aware of the publication of any photographs or videos from

  the November 1, 2021, Zoom hearing.

         Pursuant to 28 CFR § 50.9, because “of the vital public interest in open judicial

  proceedings, the Government has a general overriding affirmative duty to oppose their closure.”

  The Government should oppose closure unless “closure is plainly essential to the interests of

  justice.” Id. Under this provision, the Government shall not consent to closure unless, among

  other things, “[f]ailure to close the proceedings will produce; (i) a substantial likelihood of denial

  of the right of any person to a fair trial; or (ii) a substantial likelihood of imminent danger to the

  safety of parties, witnesses, or other persons; or (iii) a substantial likelihood that ongoing

  investigations will be seriously jeopardized.” 28 CFR § 50.9 (c)(6). The Government is not aware

  of any such concerns in this case. Defendant SAAB MORAN’s Motion refers to a general right

  to be “treated fairly and in a dignified manner” but does not allege the denial of a right to a fair

  trial or any danger to any party. Mot. at 8. The Government, therefore, objects to any closure of

  proceedings related to defendant SAAB MORAN.

         Notwithstanding the opposition to any closure, the Government does agree with defendant

  SAAB MORAN that the Court should ensure compliance with Federal Rule of Criminal Procedure

  53. The Court can continue to admonish the Zoom participants not to make any recordings of the


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  Zoom proceedings as required by Rule 53. At the time of this filing, the Government is not aware

  of any recording being made of the November 1, 2021, hearing. While defendant SAAB MORAN

  was not present at the hearing, his waiver of appearance was not on the docket prior to the hearing

  and the number of participants on the Zoom hearing was less than a third of that at the initial

  hearing. As such, it is not clear additional safeguards are necessary. The continuation of

  admonishments prior to Zoom hearings involving SAAB MORAN could alleviate his concerns

  that attendees would continue to violate Rule 53.

         Defendant SAAB MORAN requests Rule 53 compliance be accomplished by limiting

  Zoom access to future proceedings to necessary parties, SAAB MORAN’s family, and accredited

  press. 1 In support of this request, defendant SAAB MORAN’s Motion notes that courts in the

  Southern District of New York have required both members of the press and the public to attend

  hearings only via telephonic conference. The Government is not aware of all the circumstances

  surrounding these orders but notes that in one of the cases cited by defendant SAAB MORAN, the

  Southern District of New York did, in fact, allow for members of both the press and the public to

  view the proceedings via live video. See Order Setting Arraignment, initial Conference, and Bail

  Hearing, United States v. Maxwell, No. 1:20-CR-0030 (S.D.N.Y. July 9, 2020), ECF No. 16

  (allowing members of the press and public to access live video audio feed and also providing that

  “members of the press and public may watch and listen to the live video feed in the Jury Assembly

  Room, at the Daniel Patrick Moynihan Courthouse.”). Another case cited by defendant SAAB

  MORAN related to a hearing that was, in and of itself, a telephonic hearing – participation via

  Zoom was moot. See Order Setting Telephone Conference, United States v. Avenatti, No. 1:19-



  1 The Government takes no position on which members of the press would qualify as “reputable
  news organizations with a proven record of abiding by Rule 53’s requirements” or how the court
  would assess that designation, per the Motion’s request. Mot. at 8.
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  CR-00373 (S.D.N.Y. Jan. 14, 2020), ECF No. 143 (“With respect to the telephone conference

  scheduled for January 14, 2020 at 5:00 p.m., the parties will dial (888) 363-4749 and use access

  code 6212642. The press and public may obtain access to the telephone conference by dialing the

  same number and using the same access code.”)

         To the extent the Court has concerns regarding Rule 53 compliance at future hearings

  involving defendant SAAB MORAN, the Government proposes in-person hearings with

  allowances for public attendance or attendance via a live video feed in an overflow room, so long

  as they are compliant with the CARES Act and Administrative Order 2021-74. Additional

  telephone access could also be provided.          To the extent future hearings are conducted

  telephonically, the Government agrees that allowing the public and press to attend telephonically

  does not pose any issue.

         Regarding defendant SAAB MORAN’s request that the Court refer those listed in Exhibit

  A of the Motion to the United States Attorney for investigation, the Government defers to the

  Court and will, of course, appropriately inquire into any such referral.

  Respectfully submitted,


  JOSEPH S. BEEMSTERBOER                                JUAN ANTONIO GONZLEZ
  ACTING CHIEF, FRAUD SECTION                           UNITED STATES ATTORNEY

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